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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA

                           NORFOLK DIVISION

UNITED STATES OF AMERICA

      v.                                 CRIMINAL NO. 2:17cr126

DARYL G. BANK

      Defendant.

             MOTION FOR AMENDMENT OF CONDITIONS OF
             RELEASE AND MEMORANDUM IN SUPPORT ON
               BEHALF OF DEFENDANT DARYL G. BANK

      COMES NOW the, Defendant, Daryl G. Bank, by and through

Undersigned Counsel, and pursuant to 18 USC §§ 3142 and 3145 (a) (2),

and hereby files Defendant’s Motion for Amendment of the Conditions of

Release. In support thereof, Mr. Bank states the following:

      1. On August 30, 2017, Mr. Bank was arrested and indicted on

criminal charges, including wire and mail fraud stemming from his work as

a trust and investment advisor.

      2. The Government sought pretrial detention for Mr. Bank, who had

no prior convictions and who was aware of the criminal investigation for

almost three years, on the basis that he was a danger to the community

and a flight risk.
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      3. United States Magistrate Judge Shaniek Maynard of the United

States District Court for the Southern District of Florida conducted a pre-

trial detention hearing on September 5, 2017. After extensive testimony

and argument, Magistrate Maynard provided Mr. Bank a bond. The bond

included a $300,00.00 personal surety bond in addition to a $250,000.00

Corporate surety bond.

      4. The combined bond would require $550,000.00 total in collateral

and approximately, $35,000.00 in premiums.

      5. The Government in this case seized hundreds of thousands of

dollars or more in liquid assets and personal property, and is seeking to

forfeit multiple pieces of real property worth far more. As a result of these

seizures, Mr. Bank was unable to use any assets he owns as collateral or

to pay the bond premium. The bond therefore is so high it is as if there is

no bond at all and Mr. Bank remains in custody.

      6. Mr. Bank respectfully requests this Court or the Magistrate Judge

to review Magistrate Judge Maynard’s bond order to lower it sufficiently so

that he can make bond and/or to permit the use of certain assets for

payment of premium and collateral. See, United States of America vs.



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Justin H. Cannon, 711 F. Supp.2d 602 (U.S.D.C., E.D. Virginia, Norfolk

Division 2010).

        7. Specifically, Mr. Bank proposes to use real property which he owns

in North Carolina as well as his residence in Florida as collateral for his

bond.     These properties were previously subject to a federal tax lien,

however, that lien has recently been released.           (See Ex. 1)   These

properties have equity that should be sufficient to satisfy the Court. The

North Carolina property has an appraised value of over $1,000,000.00,

while the Florida residence, which Mr. Bank purchased in 2010, has equity

of approximately $225,000.00.

        WHEREFORE, for the reasons stated above, the Defendant, Daryl G.

Bank, by counsel, respectfully requests that this Honorable Court grant his

Motion.

                               Respectfully submitted,


                               ________/s/______________
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                       CERTIFICATE OF SERVICE

      I hereby certify that on the 14th day of December 2017, I
electronically filed the foregoing with the Clerk of Court using the CM/ECF
system, which will then send a notification of such filing (NEF) to the
following:

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